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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-refglobal="case:marshallvmarshallno24sc208november4,2024" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; In re the Marriage of Petitioner &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Alexandra Marshall&lt;/span&gt;&lt;/span&gt;, and &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Terrence Marshall&lt;/span&gt;. &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC208&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;November 4, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="165" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="165" data-sentence-id="182" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_182" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;Case No. 22CA1579&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="223" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="223" data-sentence-id="239" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="285" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="285" data-sentence-id="308" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt; would grant as to the following issue&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="364" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="364" data-sentence-id="380" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;' opinion&lt;/span&gt; conflicts with its previous
 &lt;span class="ldml-entity"&gt;holding in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofmarsonvmarsonno96ca0142929p2d51nov29,1996" data-prop-ids="sentence_380" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;In re Marriage of Marson&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;929 P.2d 51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(Colo. A p p . &lt;span class="ldml-entity"&gt;1996&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, where &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; interpreting the same
 statutory language allowed the obligee parent to exclude
 income from additional jobs.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
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